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       In the United States Court of Federal Claims
                                          No. 02-25L

                                     (Filed: May 28, 2010)
                                        ____________
 JICARILLA APACHE NATION, formerly
 JICARILLA APACHE TRIBE,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                          __________

                                           ORDER
                                          __________

       A status conference will be held in this case on Thursday, June 10, 2010, at 10:00 a.m.
(EDT) at the United States Court of Federal Claims, National Courts Building, 717 Madison
Place, N.W., Washington, D.C. 20005. The courtroom location will be posted in the lobby on
the day of the conference.

       IT IS SO ORDERED.


                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
